                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE


D.T., et al.
                                 Plaintiff,
v.                                                    Case No.: 3:19−cv−00213

Sumner County Schools
                                 Defendant,

                               ENTRY OF JUDGMENT

        Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 12/3/2019 re [21].


                                                                          Kirk L. Davies
                                                         s/ Alia D. Morgan, Deputy Clerk




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